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EXHIBIT 6
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Leslie DeMars CONFIDENTIAL - October 23, 2019

1 3
IN THE UNITED STATES DISTRICT COURT 1 Original Notice of Deposition of Leslie
FOR THE DISTRICT OF VERMONT . tye
Case No. 5:17-cv-194 DeMars and Amended Notice of Deposition
of Leslie DeMars 6
- MISTY BLANCHETTE PORTER, M_D., . we
Plaintiff 2 Subpoena to Testify at a Deposition
vs. in a Civil Case 7
DARTMOUTH-HITCHCOCK MEDICAL CENTER, .
DARTMOUTH-HITCHCOCK CLINIC, 3 Letter, Birkmeyer and Compton to
MARY HITCHCOCK MEMORIAL HOSPITAL, Leslie DeMars, DH13075-13082 9
and DARTMOUTH-HITCHCOCK HEALTH,
4 Notice of Subpoena to Leslie DeMars,
Defendants. 4/3/18 15
5 Notice of Subpoena to Leslie DeMars,
CONFIDENTIAL 6/1/19 15
6 Excerpt of Deposition of Joanne
DEPOSITION OF LESLIE DeMARS
taken on behalf of the Plaintiff at Norwich, Conroy, 9/18/19 24
Vermont, on October 23, 2019, at 9:00 a.m., 7 Email string, DeMars and David Seifer,
before Cynthia Foster, Registered Professional
Reporter. 9/8/17 DH0011349 25
8 Text messages between Leslie DeMars and
Misty Porter, DEMARS000000 I-87 41
9 Email string, DeMars and Porter and
McBean, DH0021243-44 59
10 Email string, Porter and DeMars re
2 4
APPEARANCES: / 11 Email, McBean to DeMars, 7/28/2016,
Geoffrey Judd Vitt, Esquire
Sarah Nunan, Esquire DH0025543-44 71
Julia Korkus, Paralegal : .
Vitt & ‘Associates, PC 12 Email, Seguin to DeMars, 7/28/2016,
FO ee Lag N Road DH0011269-70 96
Norwich, Vermont, 05055, on behalf of the : . . 4
Plaintiff, Misty Blanchette Porter, M.D., also 13 Email, DeMars to Padin, DH0021261-62 106
present. . 14 Excerpt from deposition of Ed Merrens —- 109
Katherine Burghardt Kramer, Esquire
KBK Law 15 Email, DeMars to Padin, 5/12/2016,
6 Mill Street tous
P.O. Box 23 re DS and credentialing, DH0021253 110
Middlebury, Vermont, 05753, on behalf of the . : .
Plaintiff, Misty Blanchette Porter, M.D., also 16 Chat with Richard Reindollar,
present. .
Donald W. Schroeder, Esquire DeMars0000101-102 i
Foley & Lardner, LLP i ‘
111 Wuntington Avenue, Suite 2500 17 Email, Porter to DeMars re confidential
Boston, Massachusetts, 02199-7610, on behalf of review, 2/20/2017, DH0025077-79 115
the Defendants, Dartmouth-Hitchcock Medical . .
Center, Dartmouth-Hitchcock Clinic, Mary 18 Email, Todd to DeMars re confidential
Hitchcock M ial Hospital, and .
Dartmouth-Hitcheock Health, review, 2/21/2017, DH0025437-42 115
19 Email, Gunnell to DeMars re confidential
review, 2/24/2017, DH002544 1-42 115
20 Email string, Gunnell to Herrick, DeMars,
re: REVIVF Action Plan, 4/19/2017,
DH0009582-83 with attachments 159
21 Email, DeMars to Strohbehn, et al,

1 (Pages 1 to 4)

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41 43
1 Dartmouth-Hitchcock in order to participate in 1 messages where you refer to "Misty magic." Do
2 retrievals and transfers and very specific IVF 2 you recall using that term? .
3 procedures. 3 A Absolutely.
4 Q Okay. 4 Q_ What did you mean by that?
5 A Those would be things that the residents would’ 5 A Misty, Misty is an amazingly gifted and
6 not be performing. 6 dedicated reproductive endocrinologist and
7 Q_ Right. Back to this issue of people losing 7 infertility specialist who I think through
8 respect, did you mention Daniel Herrick, was he 8 technical skill and creativity was able to -
9 one of the ones? 9 achieve lots of desired pregnancies for women,
10 A No. 10 and that's her "Misty magic.”
11 Q Let me mark as Exhibit 8, these are the text 11 Q_ Was she also skilled at reading ultrasounds?
12 messages between you and Dr. Porter. 12 A I think that she is skilled at reading
13 (Exhibit 8 marked for identification) 13 ultrasounds.
14 Q_ Tell me when you first began working with Dr. 14 Q She also for a number of years did benign
15 Porter. 15 surgery, correct?
16 A 1997, 16 A Yes.
17 Q_ And in what context? How did you two come to 17 Q_ Was she a talented surgeon?
18 meet? 18 A Some things, yes.
19 A Both of us joined the department at 19 Q You mean for certain --
20 approximately the same time as junior faculty. 20 A For certain procedures, yes.
21 Q __ Did you and she have a working relationship 21 Q_ What procedures?
22 before you became Chair? 22 A I think for infertility-related procedures such
23 A We worked together as colleagues, yes. 23 as intrauterine resections, hysteroscopic
24 Q. Okay. Did you and she serve on certain 24 resections.
25 committees and boards together? 25 Q_ Any others?
42 44
1 A We were both examiners for the American Board of 1 A When Misty and I did procedures together, it was
2 Obstetrics and Gynecology. 2 always something that I looked forward to doing
3 Q_ And who nominated Dr. Porter to be a board 3 because we would problem-solve together, and we
4 examiner? Would that have been you? 4 would learn from one another.
5 A I don't remember. 5 Q Could I ask you to look at -- so the pages are
6 Q_ What percentage of the OB/GYNs across the 6 numbered both at the bottom and in the upper
7 country do you estimate are board examiners? 7 right so it's easy to follow. So if I could ask
8 MR. SCHROEDER: Ifyou know. 8 you to look at the number at the bottom it's
9 A [have no idea. 9 DeMars and then it goes | and et cetera, okay?
10 Q You and she became friends? 10 So if you can go to page 44.
11 A Yes, 11 Are you on that page?
12 Q Before her illness, did you see the friendship 12 A Um-hum.
13 as a problem given your position as Chair? 13 Q_ The dark portion under "Birthgiver," that's you,
14 A My friendship with Misty was the most difficult 14 right?
15 part of being the Chair. 15 A Yes.
16 Q Why? 16 Q_ And if you go down to the third item, you wrote,
17 A Because I was forced to accept as true actions 17 "The ultrasound techs were super psyched to see
18 and behaviors that I didn't want to see from my 18 you yesterday." Do you see that?
19 friend, and in my position as Chair, I tried 19 A Yes.
20 very hard to protect my friend. 20 Q_ Why were they super psyched to see Dr. Porter?
21 Q_ Was there any question about her competence? 21 MR. SCHROEDER: Objection. Speculation.
22 A Prior to her illness? 22 A I mean, it's hard to put this into context.
23 Q_ Yes. Prior to her illness. 23 Q_ Okay. Let me try this. Was Dr. Porter talented
24 A No, 24 in the interpretation of first trimester
25 Q_ I'm going to be showing you parts of the text 25

ultrasounds?

11 (Pages 41 to 44)

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69 71
1 mean, Misty had to really teach him how to do an 1 Mischaracterizes her testimony.
2 embryo transfer, had to be with him coaching him 2 Q Is that what you're telling me?
3 on egg retrievals, had to go through cycle 3 A I think that that the opinions were influenced
4 management with him, that it was an enormous 4 by Dr. Porter's opinions.
5 amount of work that Misty took on. 5 Q Didn't Dr. McBean tell you that Albert Hsu in
6 Despite that work, you conclude that "he may 6 the OR presented a risk to patient safety?
7 well be unsalvageable." Those are sharp terms, 7 A __ I think that she would have no basis for that
8 right? 8 opinion.
3 Misty was highly critical of Albert. This is a 9 Q_ Do you recall receiving that opinion from her?
10 really good example of my putting a lot of 10 A Not specifically.
11 weight into what Misty says and a lot of weight 11 Q Let me show it to you.
12 into my friendship with Misty and then having to 12 We'll mark as 11 an exhibit that has been
13 go and either verify or refute the comments that 13 marked Exhibit 12 during the deposition of Ed
14 she makes. I had concerns about Albert because 14 Merrens.
15 he came from a training program that didn't 15 (Exhibit 11 marked for identification)
16 allow him to do technical procedures. He's an 16 Q_ Are you ready?
17 incredibly smart guy, but if he couldn't put the 17 A Yes,
18 technical procedures into the right context and 18 Q__Do you know Dr. McBean?
19 if he could not do so in a fashion that would 19 A Yes.
20 allow him to pass his boards, he could not 20 Q__ How long have you known her?
21 continue as a faculty member at D-H. 21 A We were medical students together.
22 Correct me if I'm wrong, but the way I read this 22 Q You think she's competent?
23 February 18, 2017, email you are taking the 23 A Yes.
24 position that it's your opinion that he might 24 Q_ She writes in her message to you of February 22,
25 well be unsalvageable. By that, you mean he 25 "Albert does not have an adequate skill set with
70 72
1 couldn't continue to perform his job at 1 regard to surgery and patient care. He
2 Dartmouth-Hitchcock, right? 2 regularly practices outside of ARSM standards
3 MR. SCHROEDER: Objection. 3 with the regard to IVF which is both effective
4 Mischaracterizes her testimony. 4 and costly to patients. His surgical skills
5 I think you're mischaracterizing it. 5 endanger patients."
6 What did you mean by "unsalvageable"? 6 Do you recall reading that?
7 That I was spending an enormous amount of time 7 A Yes.
8 with both David and with Albert in trying to 8 Q_ Okay.
9 make this division run in Misty's absence, and 9 A So I think that's inflammatory, and I think she
10 there were things that he would do that were 10 has no basis on which to assess his surgical
11 repeats such as turning an ultrasound into a 11 skills and to put that in an email that he's a
12 consult. And that if he -- and he failed his 12 danger to a patient.
13 boards. If he couldn't get his professional 13 Q Tell me the investigation you conducted after:
14 performance, this was not an issue of 14 receiving that.
15 competence. It was could he be a member of our 15 A Thad regular contact with Albert and had
16 faculty performing the job of a REI physician. 16 regular contact with him in the operating room.
17 It wasn't just Dr. Porter who had sharp, highly 17 Q_ What kind of procedures?
18 uncomplimentary things to say about Albert Hsu, 18 A When he was doing myomectomies, when he was
19 correct? 19 doing hysterectomies, when he was doing any open
20 I think they were all based on conversations 20 GYN procedure, on some laparoscopies.
21 that Dr. Porter had with individuals. 21 Q_ And based on your personal observation, it's
22 You're telling me that every opinion that you 22 your view that he was a competent surgeon.
23 got about Albert Hsu was based on conversations 23 A __ It was my view that he was not a danger to
24 with Dr. Porter? 24 patients.
25 MR. SCHROEDER: Objection. 25 Q Was he a competent surgeon?

18 (Pages 69 to 72)

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109 111
1 made at the leadership level that had 1 didn't do IVF?
2 implications for your place in the organization? 2 A lanswered that before. I mean, again, IVF does
3 A No. 3 not equal REI, and there's consultations to be
4 Q_ Okay. I'm going to mark as Exhibit 14 a series 4 done, evaluation of women with reproductive
5 of pages from Ed Merrens' testimony, deposition 5 endocrinologic disorders. There were still
6 testimony, and they're not consecutive because 6 ultrasounds to be read.
7 there are only a few things J want to ask you 7 Q_ Was that work that Albert Hsu was capable of
8 about, and I think I provided sufficient context 8 performing?
9 in each time so that you can understand both the 9 A Yes.
10 question that was asked and Dr. Merrens' 10 Q I'm going to mark as Exhibit 16 a two-page
11 response. 11 document that was marked as Exhibit 4 during the
12 (Exhibit 14 marked for identification) 12 Merrens deposition. It's DEMARS0000101 and 102.
13 Q I've given you what's been marked as Exhibit 14. 13 (Exhibit 16 marked for identification)
14 If you could go to page 83, please. 14 Q Does this exhibit include texts between yourself
15 Do you agree that what Dr. Merrens has 15 and Richard Reindollar?
16 provided there is a accurate summary of what the 16 A Yes, it does,
17 committee said to you? 17 Q_ And again, you're the Birthgiver?
18 A No. 18 A [am Birthgiver.
19 Q In what respect do you disagree? 19 Q Yes, okay. And you begin by saying, "Richard,
20 A What Dr. Merrens said was you are responsible 20 I'm not sure that DS," that's David Seifer,
21 for Dr. Seifer and his success here. He did not 21 correct?
22 elaborate further. He did not hold out that it 22 A Yes.
23 had consequences for my position as Chair. 23 Q_ "Is clinically competent. I don't know what
24 Q. Okay. How did that make you feel when he told 24 he’s been doing for 25 years, but I'm not sure
25 you that it was your responsibility to ensure 25 it was IVF." And then you go on later on to
110 112
1 his success? 1 say, "I have heard separately voiced concerns
2 A It was a challenge that I had no alternative but 2 from nursing, anesthesia and ultrasound techs.
3 to take because I had no other options. 3 The lab folks complain about bloody aspirates
4 Q Did it seem fair to you that they had put that 4 and low egg counts.”
5 responsibility on your back? 5 What caused you to write to Richard
6 A Sure. Yes. I made the decision to hire him. 6 Reindoflar and say I don't think he's clinically
7 Are we done with this one? 7 competent?
8 Q For now. If you would just push it to one side, 8 A _ This is a conversation that I had with Misty
9 thank you. 9 that I am not attributing to her in this text.
10 A Not in the "done" pile. 10 Q_ So the judgment that he was not clinically
11 Q_ Right. You've got the drill down. 11 competent is her judgment?
12 I'm going to mark as Exhibit 15 what has 12 A Yes.
13 been marked as Merrens Exhibit 3. It's a May 13 Q_ And the separately voiced concerns from nursing,
14 12, 2016, email from Dr. DeMars to Maria Padin. 14 anesthesia and ultrasound techs, that's
15 (Exhibit 15 marked for identification) 15 something that she heard and not you?
16 Q Do you recall writing this email? 16 A _ Again, this was all primarily surrounding his
17 A Yes. 17 first egg retrieval.
18 Q_ You say in here that if you can't get or can't 18 Q_ Allright. And then that the lab folks complain
19 hire Dr. Seifer that you will have to shut the 19 about bloody aspirates and low egg counts.
20 REI program down, correct? 20 That's something that she heard and not you?
21 A The IVF program, 21 A Yes.
22 Q_ Oh, the program you're going to shut down is 22 Q__ Did you do anything to check the accuracy of the
23 IVF? 23 information that you put in these texts to
24 A Yes. 24 Richard Reindollar?
25 Q So what would the REI Division look like if it 25 A I was with, yes, I had separately been

28 (Pages 109 to 112)

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125 127
1 answered. 1 surprise me at all.
2 A No. 2 Q__ Did you talk to him about any of these issues
3 Q How do you know what she's referring to there? 3 reflected in the exhibits in front of you?
4. A Because it is the same situation that was -- 4 MR. SCHROEDER: Who's he?
5 Q How do you know that? How do you know that 5 Q_ Sorry. Ed Merrens.
6 there weren't five times that they performed 6 A No.
7 tubal patency exams on a woman without consent? 7 Q_ Why not?
8 How do you know that? 8 A Because he looked at me at the Credentialing
9, A Because I addressed it with Albert. I addressed 9 Committee and said this is on you.
10 the issue with the ultrasound tech, I addressed 10 Q_ When were the first discussions about the
11 it with Albert. I have to be confident that 11 possibility of closing the REI Division?
12 Albert is not going behind my back. 12 A There was no discussion about it. That was
13 Q_ What did you say to Albert? I didn't realize 13 April of 2017, May 2017, that was after this
14 you spoke to him about it. 14 time.
15 A _ Inclarifying his role of what is he doing when 15 MR. SCHROEDER: After what time?
16 he is doing ultrasounds. Clarifying his 16 A After February.
17 learning doing tubal patency tests, and 17 Q_ So Ed Merrens thought it was in March. Does
18 clarifying on what patients he is doing those, 18 that sound right or do you think it was April
19 and clarifying the process by which those 19 before the discussion started?
20 happen. 20 A I think it was April or May. And there was, the
21 Q Did he or did he not have the consent of the 21 discussion was never, the discussions we were
22 patient for this tubal patency examination? 22 having were to contract and to stop IVF. The
23 A __ It didn't happen. 23 discussions were never to close the division.
24 Q He didn't do it. 24 Q_ And who were the persons who were involved in
25 A No. 25 these discussions?
126 128
1 Q So tell me what he told you about this 1 A Heather --
2 situation, 2 Q_ Heather Gunnell.
3 A The ultrasound tech told me that he wanted to do 3 A Daniel Herrick.
4 a tubal patency test on a patient. It was not 4 Q. Okay. You?
5 scheduled, She told him that he couldn't do it 5 A The Value Institute. Me. Nursing leadership.
6 and they didn't do it. That's my understanding 6 Q_ Sol want to make sure I've got this right. The
7 of the situation. 7 issue of contracting the division?
8 Q_ And this happened one time. 8 A Contracting the service.
9 A Yes. 9 Q Is that the right term? Contracting the
10 Q Okay. Do you have the Merrens testimony there? 10 service?
11 Page 120. Line 2. He's been shown the exhibits 11 A Yes. We were trying to contract performing IVF
12 that you have in front of you there. The 12 services,
13 assessments that we've been discussing? And Dr. 13 Q_ Was the Value Institute involved in the
14 Merrens says that those documents -- 14 discussions with Ed Merrens, Daniel Herrick,
15 MR. SCHROEDER: Let her read -- if you want 15 Heather Gunnell and yourself about the
16 to ask her about page 120, just let her read it. 16 arrangements for possibly contracting the
17 MR. VITT: Oh, I'm sorry. Sure. 17 service that was going to be provided by the
18 Q Okay. Do you agree with Dr. Merrens that these 18 division?
19 reviews raise significant concerns on many 19 A Ask that question again, please?
20 levels. Technical skill, standard of care, 20 Q_ Sure. I'm just trying to figure out who were
21 approach to patients, collaboration with a team 21 the parties, who were the individuals, who were
22 and overall vision. Do you agree with that? 22 having discussions about the possibility of
23 A I think if he were seeing this out of context, 23 contracting the services to be provided by the
24 yes. My seeing these in the course of that 24 REI Division? And IJ thought it was Ed Merrens,
25 entire year that he was at D-H, this doesn't 25 Daniel Herrick, Heather Gunnell and yourself and

32 (Pages 125 to 128)

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